     Case 1:11-cv-00221-LJO-JLT Document 14 Filed 09/16/11 Page 1 of 2

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 5   Attorneys for Plaintiff
     John Morales
 6
 7
 8                                UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10
11   JOHN MORALES,                    )                        No. 1:11-CV-00221-LJO-JLT
                                      )
12            Plaintiff,              )                        STIPULATION AND [PROPOSED]
                                      )                        ORDER TO FILE FIRST AMENDED
13        vs.                         )
                                      )                        COMPLAINT
14   ORCHARD SUPPLY HARDWARE          )
     CORPORATION, OSH PROPERTIES LLC, )                        (Doc. 13)
15                                    )
                                      )
16            Defendants.             )
                                      )
17                                    )
                                      )
18
19           IT IS HEREBY STIPULATED by and between the parties hereto, through their
20   respective attorneys of record, that Plaintiff John Morales (“Plaintiff”) may file a First
21   Amended Complaint, a copy of which is attached hereto as Exhibit “A.” The First Amended
22   Complaint shall be filed within five (5) court days of the court’s order permitting its filing.
23           IT IS FURTHER STIPULATED that Defendants Orchard Supply Hardware
24   Corporation and OSH Properties LLC (“Defendants”) shall have fourteen (14) calendar days

25   after the First Amended Complaint is filed and served on Defendants electronically by the

26   Court within which to file their responsive pleading.

27   ///

28   ///


     Morales v. Orchard Supply Hardware Corporation, et al.
     Stipulation and Order to File First Amended Complaint

                                                      Page 1
     Case 1:11-cv-00221-LJO-JLT Document 14 Filed 09/16/11 Page 2 of 2

 1   IT IS SO STIPULATED.
 2   Dated: September 6, 2011                                    MOORE LAW FIRM, PC
 3
 4                                                               /s/ Tanya E. Moore
                                                                 Tanya E. Moore, Attorneys for Plaintiff
 5                                                               John Morales
 6   Dated: September 15, 2011                                   CALL & JENSEN
 7                                                               A Professional Corporation
                                                                 Matthew R. Orr
 8                                                               Michael S. Orr
 9
10                                                               /s/ Matthew R. Orr
                                                                 Matthew R. Orr, Attorneys for Defendants
11                                                               Orchard Supply Hardware Corporation and
                                                                 Orchard Properties LLC
12
13                                                               ORDER

14
                             The Parties having so stipulated,
15
                             IT IS HEREBY ORDERED that Plaintiff file his First Amended Complaint within five
16
     (5) court days of the filing of this Order;
17
                             IT IS FURTHER ORDERED that Defendants shall file their responsive pleading
18
     within fourteen (14) calendar days of the court’s electronic service of the filed First Amended
19
     Complaint.
20
21
22
     IT IS SO ORDERED.
23
24                         Dated:   September 16, 2011                      /s/ Jennifer L. Thurston
     DEAC_Signature-END:
                                                                      UNITED STATES MAGISTRATE JUDGE
25
     9j7khijed
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     Morales v. Orchard Supply Hardware Corporation, et al.
     Stipulation and Order to File First Amended Complaint

                                                                 Page 2
